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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

KEVIN LAMBERT on behalf of himself                    )
and all others similarly situated,                    )
                                                      )
               PLAINTIFF,                             )
                                                      )       Civil Action No. 17-cv-05228
               v.                                     )
                                                      )
SOUTHWEST CREDIT SYSTEMS, INC.,                       )
                                                      )       Jury Demanded
               DEFENDANTS.                            )

             PETITION FOR AWARD OF ATTORNEY’S FEES AND COSTS

        Plaintiff, Kevin Lambert, brought this class action against Defendant, Southwest Credit

Systems, Inc., (“Defendant”), on February 2, 2018, claiming that Defendant violated the Fair

Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”).

        On March 20, 2018, Defendant provided a Settlement Agreement, which Plaintiff

received and accepted. Plaintiff’s counsel hereby files its petition to the Court for an award of

$5,186.20 for their attorneys’ fees and costs pursuant to 15 U.S.C. § 1692k.


   I.      Background Facts In Support of Petition

        On July 14, 2017, Plaintiff filed the complaint in this class action, seeking statutory

damages of up to $1,000, actual damages, and attorney fees pursuant to 15 U.S.C. §§

1692k(a)(1)-(3). (Dkt. #1). Defendant filed its Answer and Affirmative Defenses to Plaintiff’s

Complaint on August 14, 2017. (Dkt. #8). Defendant sent an settlement offer to Plaintiff, which

plaintiff accepted.

        In their petition for fees and expenses, Plaintiff’s counsel seeks $20,666.70 in attorney’s

fees and $500 in costs, plus any further reasonable fees incurred in briefing the issues involved

before the Court. This request is based on the lodestar method, which has been accepted in
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numerous FDCPA cases as the most accurate way to determine attorneys’ fees in these types of

cases. In support of this petition, attorneys’ time and work records are attached hereto as Exhibit

A.


     II.      Plaintiff Is Entitled To An Award Of Costs And Reasonable Attorneys’ Fees

           The Fair Debt Collection Practices Act (“FDCPA”) was enacted to prevent “abusive,

deceptive, and unfair debt collection practices.” 15 U.S.C. §1692(a). A Plaintiff who prevails

under the FDCPA is entitled to an award of costs and reasonable attorneys’ fees.” Schlacher v.

Law Offices of Phillip J. Rotche & Assoc., P.C., 574 F.3d 852, 856 (7th Cir. 2009). In order to

encourage able counsel to undertake FDCPA cases, Congress has made an award of reasonable

attorney’s fees mandatory. 15 U.S.C. § 1692k(a)(3); Tolentino v. Friedman, 46 F.3d 645, 651-52

(7th Cir. 1995) cert denied, 515 U.S. 1160 (1995). Although there is no precise formula for

determining a reasonable fee, the district court generally begins by calculating the lodestar--the

attorney's reasonable hourly rate multiplied by the number of hours reasonably expended.

Hensley v. Eckerhart, 461 U.S. 424, 433-37 (1983); Gautreaux v. Chi. Hous. Auth., 491 F.3d

649, 659 (7th Cir. 2007). The proper hourly rate is determined based on the market rate for the

services of plaintiff's counsel. See, e.g., Missouri v. Jenkins, 491 U.S. 274, 283, 105 L. Ed. 2d

229, 109 S. Ct. 2463 (1989). If an attorney commonly charges by the hour, his regular billing

rate is presumptively the market rate. Spegon v. Catholic Bishop of Chicago, 175 F.3d 544, 555

(7th Cir. 1999); People Who Care v. Rockford Board of Education, 90 F.3d 1307, 1310 (7th Cir.

1996).

           The plaintiff bears the burden of proving the reasonableness of her attorneys’ fees.

Hensley, 461 U.S. at 437. The court considers the following factors when calculating fees: (1)

the time and labor required; (2) the novelty and difficulty of the question; (3) the skill requisite to


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perform the legal service properly; (4) the preclusion of employment by the attorney due to

acceptance of the case; (5) the customary fee; (6) whether the fee is fixed or contingent; (7) any

time limitations imposed by the circumstances; (8) the amount involved and the results obtained;

(9) the experience, reputation, and ability of plaintiff’s attorney; (10) the undesirability of the

case; and (11) fee awards in similar cases. Tolentino, 46 F.3d at 652 (citing Hensley, 461 U.S. at

441).

        If an attorney ordinarily works on a contingent-fee basis, a court “should look to the next

best evidence -- the rate charged by lawyers in the community of ‘reasonably comparable skill,

experience, and reputation.’” People Who Care, 90 F.3d at 1310 (quoting Blum v. Stenson, 465

U.S. 886, 895 n.11, 79 L. Ed. 2d 891, 104 S. Ct. 1541 (1984)). The “next best evidence” also

includes fee awards the attorney has received in similar cases. Id. at 1310-12. The district court

may then adjust that figure to reflect various factors including the complexity of the legal issues

involved, the degree of success obtained, and the public interest advanced by the litigation.

Connolly v. Nat'l Sch. Bus Serv., Inc., 177 F.3d 593, 597 (7th Cir. 1999); Strange v. Monogram

Credit Card Bank of Ga., 129 F.3d 943, 946 (7th Cir. 1997).

        The maximum amount of statutory damages that an FDCPA Plaintiff can recover from a

Defendant is $1,000. 15 U.S.C. §1692k(a)(2)(A). The “degree of success obtained” is the most

important consideration when the court determines what is a reasonable fee award. Hensley, 461

U.S. at 436; Tolentino v. Friedman, 46 F.3d 645, 652 (7th Cir. 1995). “Success is not measured

only by the amount of recovery but also in terms of the significance of the legal issue on which

the plaintiff prevailed and the public purpose the litigation served.” Morales v. City of San

Rafael, 96 F.3d 359, 365, as amended on denial of rehearing and rehearing en banc, 108 F.3d

981 (9th Cir. 1997).



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          The amount of attorneys' fees requested need not be proportionate to the settlement or

judgment amount, however, as that would defeat the public benefit advanced by the litigation.

Riter v. Moss & Bloomberg, Ltd., No. 96-C-2001, 2000 WL 1433867 (N.D. Ill. Sept. 26, 2000)

(citing Dunning v. Simmons Airlines, Inc., 62 F.3d 863, 873, n.13 (7th Cir. 1995). See also

Kasalo v. Trident Asset Mgmt., LLC, 12-cv-2900 (N.D. Ill. 2014) (Kennelly, J.) (Granting

Plaintiff’s counsel an attorney fee award of $109,574.93 on case where Plaintiff received

maximum $1,000 in statutory damages.)


   III.      Plaintiff was Successful in this Action

          The Fair Debt Collection Practices Act requires the payment of costs and reasonable

attorneys’ fees to a successful consumer. 15 U.S.C. §1692k(a)(3). Plaintiff was a successful party

in this lawsuit by having accepted a settlement offer from Defendant. Thus, Plaintiff prevailed

completely on her false/misleading representation claim, and fees should be awarded

accordingly.

          In Dechert v. Cadle Co., 441 F.3d 474 (7th Cir. 2006), the Seventh Circuit considered an

appeal challenging an award of attorneys’ fees in an FDCPA suit. The court explained that a

plaintiff is entitled to an award of fees and costs “only if his suit could be characterized as a

‘successful action to enforce the foregoing liability’”, citing Section 1692k(a)(3) of the FDCPA,

which meant liability for either actual or statutory damages. Id. at 475.

          The court further stated:

          [t]he general, indeed all but invariable, rule is that to be a prevailing party and
          therefore entitled to an award of fees and costs, you either must obtain a judgment
          that provides you with formal relief, such as damages, an injunction … or must
          obtain a settlement that gives you similar relief. (citing Buckhannon Board & Care
          Home, Inc. v. W. Virginia Dept. of Health & Human Res., 532 U.S. 598, 121 S.Ct.
          1835 (2001) [omitting additional citations]).
                                                                                           Id.


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         In Dechert, the Seventh Circuit found that plaintiff failed to obtain any kind of

judgment or settlement for relief, nor did he enforce any liability under the FDCPA. Id.

Here, by contrast, Plaintiff accepted a settlement offer for $1,100 with fees and costs to be

determined by the Court. Thus, this suit may rightly be characterized as a “successful action

to enforce the foregoing liability.”


   IV.        Plaintiff’s Attorney’s Hourly Rates Are Reasonable

         A.      Plaintiff’s Attorneys are Paid Their Current Hourly Rates by Paying Clients

         The Seventh Circuit has stated that “the best evidence of the market value of legal

services is what people pay for it. Indeed, this is not ‘evidence’ about market value; it is market

value.” Balcor Real Estate Holdings, Inc. v. Walentas-Phoenix Corp., 73 F.3d 150, 153 (7th Cir.

1996) (emphasis added). Furthermore, “[t]he attorney’s actual billing rate for comparable work is

‘presumptively appropriate’ to use as the market rate.” People Who Care v. Rockford Board of

Education, School District No. 205, 90 F.3d 1307, 1310 (7th Cir. 1996) (emphasis added).

         With respect to direct similarity to other cases, Plaintiff’s attorneys contend it would be

next to impossible to provide evidence of client payments made to an FDCPA attorney as the

FDCPA is a fee-shifting statute and few, if any, practicing FDCPA attorneys collect money from

their clients on an hourly, out-of-pocket basis. In fact, it was Congress’s intent, in making the

statute fee-shifting, that no such payments would be required from the client. However, other

consumer law cases such as debt defense and foreclosure deal primarily with debt collection

matters and therefore involve many of the same issues, discovery matters, and similar consumer-

based motion practice as the FDCPA claims that arise out of those cases. Plaintiff’s attorneys at

Community Lawyers’ Group, Ltd. have been paid their actual hourly rates by clients for these




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types of consumer law cases. (See Exhibits attached to Exhibit B, Declaration of Michael J.

Wood).

       Plaintiff’s counsel Michael Wood’s current actual hourly rate of $372.00 was approved in

Serrano v. Alliant Capital Management, LLC et al, Case No. 16-cv- 08602. (Ex. B, Declaration

of Michael J. Wood). Although the majority of Plaintiff’s counsel’s work is in contingent-fee

consumer cases, Attorney Wood has charged and also been paid his present hourly rate of $372

for comparable work, and his prior rate of $352, including for collection defense litigation. (See

Exhibits attached to Ex. B, Dec. of Michael J. Wood). Plaintiff’s counsel’s rate is further

supported by the fact that he is counsel to more than 750 FDCPA cases in this District, including

numerous class actions, and he has been counsel to more than 250 debt defense cases in the

Circuit Court of Cook County. (Ex. B, Dec. of Michael J. Wood).


       Moreover, Wood has repeatedly been asked to consult on cases where his agreement with

the attorneys originating the claims was that he would be paid his hourly rate, ($327 at that time)

which was agreed to between counsel regardless of outcome. The cases in which counsel Wood

was retained on these terms were Cindy Divine v. Venture Financial Services, Case No. 15-cv-

02639, and Christopher Thompson v. Synerprise Consulting Services, Inc., Case No. 15-cv-

00050, cases filed in the District of Kansas wherein Defendants were alleged to have violated,

inter alia, the FDCPA in relation to an alleged credit card debt. Counsel Wood subsequently

increased his rate to $372, which reflects an increase in the amount of experience he has

litigating FDCPA matters, including the certification of two class action FDCPA matters for

settlement purposes.

       Plaintiff’s counsel Celetha Chatman current actual hourly rate is $335.00. (Exhibit C,

Declaration of Celetha Chatman). Ms. Chatman’s current rate is a 6.5% increase from her 2016

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rate of $315. Ms. Chatman’s previous rate of $315.00 was approved in Chatman v. Stellar

Recovery, Inc., 16-cv-00833 (NDIL) (See Exhibits attached to Exhibit C, Declaration of Celetha

Chatman). Plaintiff’s counsel’s rate is supported by her experience and specialization in

consumer protection and FDCPA law, her handling of more than 550 FDCPA cases, including as

counsel on 14 class action cases, and her experience in other areas of law, including Bankruptcy.

(Ex. C, Dec. of Celetha Chatman).

       Plaintiff’s Counsel Andrew Finnko

       Plaintiff’s attorneys hereby submit that they have met their burden of proving their

market rates. The rates are thus reasonable and should be awarded.

       B.      Judges in this District Have Approved Plaintiff’s Attorneys’ Prior Hourly
               Rates for FDCPA Work Over Defendants’ Objections

       When a plaintiff does not meet its burden of proving counsel's market rate, a district court

is entitled to make its own determination of reasonable hourly rate. See Uphoff v. Elegant Bath,

Ltd., 176 F.3d 399, 408 (7th Cir. 1999). If the district court is unable to determine the attorney’s

actual billing rate because, for example, the attorney has no fee-paying clients, then the district

court should look to the next best evidence. People Who Care v. Rockford Bd. of Educ., 90 F.3d

1307, 1310 (7th Cir. 1996). The next best evidence of an attorney’s market rate includes

evidence of fee awards the attorney has received in similar cases. Id. at 1310-12.

       Plaintiff’s counsel’s previous hourly rate of $327 for Michael Wood was approved by

Hon. Harry Leinenweber in Vaughn v. Account Recovery Service, Inc., 14-cv-8179. In Vaughn,

an FDPCA action, Defendant contested Plaintiff’s attorney fee petition but conceded that

Plaintiff’s counsels’ $327 per hour rate was reasonable for attorney time.

       Most recently in Chatman v. Stellar Recovery, Inc., 16-cv-00883 (NDIL), the Honorable

Harry D. Leinenweber approved Attorney Wood’s prior rate of $352 per hour. Chatman was an

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FDCPA action based on the threat of a convenience fee charge for credit card payments. The

court there was faced with another contested fee petition and Judge Leinenweber conducted a

meaningful assessment of the requested rate and approved Wood at the above-stated hourly rate.

Plaintiff’s counsel’s previous hourly rate was also approved by the Honorable Virginia M.

Kendall in Rhone v. Medical Business Bureau, LLC, 16-cv-5215 (NDIL).

        Chatman and Rhone are similar to the instant matter because they too were brought under

same Section of the FDCPA, namely Section 1692e, and thus share some common elements with

the instant matter, including establishing the use of false, deceptive, or misleading

representations or means in connection with the collection of the debt. (For comparison, see

Exhibits attached to Exhibit C, Declaration of Celetha Chatman).

        The increase in Attorney Wood’s hourly rate to $372, which is slightly higher than the

Median Rate charged by Midwest consumer law attorneys, is justified by his substantial

experience in litigating over 500 FDCPA cases, including class actions, and his leadership

position in the Consumer Law community, including his position on the ethics board of the

National Association of Consumer Advocates. (Ex. B, Dec. of Michael J. Wood).

   V.      The Number of Hours Expended on the Litigation is Reasonable

        The FDCPA mandates that a successful plaintiff be awarded her reasonable attorneys’

fees and costs. 15 U.S.C. § 1692k(a)(3); Tolentino v. Friedman, 46 F.3d 645, 651 (7th Cir.), cert.

denied,132 L. Ed. 2d 856, 115 S. Ct.2613 (1995). In calculating an attorneys’ fee award, the

“most useful starting point for determining the amount of a reasonable fee is the number of hours

reasonably expended on the litigation multiplied by a reasonable hourly rate.” Tolentino, 46 F.3d

at 652 (quoting Hensley v. Eckerhart, 461 U.S. 424,103 S. Ct. 1933 (1983)). The Supreme Court

has directed that “[c]ounsel for the prevailing party should make a good-faith effort to exclude



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from a fee request hours that are excessive, redundant, or otherwise unnecessary, just as a lawyer

in private practice ethically is obligated to exclude such hours from his fee submission.” Hensley

v. Eckerhart, 461 U.S. 424, 444, 103 S. Ct. 1933, (1983). If the prevailing party fails to exercise

the proper billing judgment, a court should exclude from the fee calculation “hours that were not

reasonably expended.” Id.

         Here, as evidenced by the table of hours expended by Plaintiff’s counsel attached as

Exhibit A hereto, Plaintiff’s counsels’ hours are patently reasonable. Plaintiff’s attorneys bill in

tenth of an hour increments, which is both reasonable and comparable to other attorneys

performing FDCPA work. Plaintiff’s attorneys also bill minimal time for administrative tasks.

Finally, the number of hours spent on a given task by attorneys Wood and Chatman are in line

with other attorneys performing FDCPA work in this District. As a result, Plaintiff’s counsel

respectfully submit that their hours are reasonable for the length of case and the work that was

necessary and as a result, should be awarded.


   VI.        Attorney’s Fees Should be Awarded Pursuant to the Lodestar Formula

         The Seventh Circuit has found that “it is necessary that counsel be awarded fees

commensurate with those which they could obtain by taking other types of cases.” Id. Providing

competitive rates ensures that attorneys will take cases that are in the public’s interest. Tolentino

at 652-53.

         For a comprehensive list of Plaintiff’s attorneys’ fees, please see Exhibit A (Time and

Work Records) attached hereto. In summary, Plaintiff requests:


         1.      Attorneys’ Fees                                      $20,666.70

         2.      Filing Fees and Costs:                                 $550.00

         TOTAL:                                                       $21,166.70
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                                         CONCLUSION

       WHEREFORE, Plaintiff, Kevin Lambert, by and through his attorneys, Community

Lawyers Group, Ltd., respectfully requests that this Honorable Court grant Plaintiff’s petition for

an award of $21,166.70 for attorneys’ fees and costs.



                                                  Respectfully submitted,


                                                     s/Celetha C. Chatman
                                                     Celetha C. Chatman




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                                 CERTIFICATE OF SERVICE

         I, Celetha C. Chatman, an attorney, hereby certify that on August 6, 2018, I electronically
filed the foregoing document using the CM/ECF system, which will send notification of such
filing to all attorneys of record.

Dated: August 6, 2018                                                      Respectfully submitted,

                                                                     By: s/Celetha C. Chatman
                                                                         Celetha C. Chatman




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